18-01021-smb          Doc 24     Filed 07/23/18       Entered 07/23/18 10:22:04   Main Document
                                                     Pg 1 of 2


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                           Chapter 7

TRANSCARE CORPORATION, et al.
                                                                 Case No.: 16-10407 (SMB)
                                             Debtors.            (Jointly Administered)
-------------------------------------------------------x
SALVATORE LAMONICA, as Chapter 7
Trustee for the Estates of TransCare                             Adv. Proc. No. 18-1021
Corporation, et al.,

                 Plaintiff,

                 v.

LYNN TILTON, PATRIARCH
PARTNERS AGENCY SERVICES, LLC,
PATRIARCH PARTNERS, LLC,
PATRIARCH PARTNERS MANAGEMENT
GROUP, LLC, ARK II CLO 2001-1,
LIMITED, ARK INVESTMENT PARTNERS
II, L.P., LD INVESTMENTS, LLC,
PATRIARCH PARTNERS II, LLC,
PATRIARCH PARTNERS III, LLC,
PATRIARCH PARTNERS VIII, LLC,
PATRIARCH PARTNERS XIV, LLC,
PATRIARCH PARTNERS XV, LLC,
TRANSCENDENCE TRANSIT, INC., and
TRANSCENDENCE TRANSIT II, INC.

                  Defendants.
-------------------------------------------------------x
                                            DISCOVERY ORDER

        The Court having held a discovery conference on July 12, 2018 in the above-captioned

adversary proceeding:

IT IS HEREBY ORDERED AS FOLLOWS:

        1.       The Defendants shall begin their production of documents by July 27, 2018.
18-01021-smb       Doc 24   Filed 07/23/18    Entered 07/23/18 10:22:04      Main Document
                                             Pg 2 of 2


       2.      Plaintiff and the Defendants shall complete their production of documents by

August 31, 2018.

       3.      The Stipulated Protective Order Governing Non-Disclosure of Confidential

Information [Doc. No. 545] shall apply in the above-captioned adversary proceeding.



IT IS SO ORDERED:

Dated: July 23rd, 2018                             /s/ STUART M. BERNSTEIN
New York, New York                                 United States Bankruptcy Judge




                                               2
 
